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 Attorneys for Sezgin Baran Korkmaz                Attorneys for Sezgin Baran Korkmaz



                         IN THE UNITED STATES DISTRICT COURT

                          DISTRICT OF UTAH, CENTRAL DIVISION


 UNITED STATES OF AMERICA,

                       Plaintiff,
                                                   Case No.: 2:21-CR-00140-JNP
       v.
                                                   Judge Jill N. Parrish
 SEZGIN BARAN KORKMAZ,

                       Defendant.


             DEFENDANT’S UNOPPOSED MOTION TO CONTINUE TRIAL

       Sezgin Baran Korkmaz respectfully request that the Court continue the trial date currently

set for April 29, 2024. In support of his motion, Mr. Korkmaz states as follows:

       1.      The Court set a three-week jury trial to begin on April 29, 2024.

       2.      In the interests of justice, Mr. Korkmaz respectfully requests a continuance of the

April 29, 2024 trial date by six (6) months, to early November 2024.

       3.      This case is complex and defense counsel needs additional time to prepare a

constitutionally sufficient defense. Failure to continue the trial would result in a miscarriage of

justice and would deny defendant effective representation.
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       4.      Mr. Korkmaz agrees to exclude the additional time under the Speedy Trial Act.

       5.      Mr. Korkmaz has consulted with counsel for the government, who has indicated

that it does not oppose the motion.

       6.      Wherefore, for the foregoing reasons, Mr. Korkmaz respectfully requests that the

Court continue the trial date for six (6) months, to early November 2024.

Respectfully submitted this 26th day of April, 2024.

                                      /s/ Matthew C. Crowl_____________
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                                        Certificate of Service

          I certify that on the 26th day of April 2024, I caused a copy of the foregoing to be filed

through the CM/ECF electronic filing system, and I caused a copy to be emailed to all counsel of

record.



                                        /s/ Matthew C. Crowl_____________
                                        MATTHEW C. CROWL (Pro Hac Vice)
                                        Attorney for Sezgin Baran Korkmaz
